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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    WAYMO LLC,                                         Case No.17-cv-00939-WHA (JSC)
                                                       Plaintiff,
                                   8
                                                                                           ORDER RE: RESPONSE TO WAYMO'S
                                                v.                                         LETTER BRIEF RE: OUTSTANDING
                                   9
                                                                                           DISCOVERY ISSUES
                                  10    UBER TECHNOLOGIES, INC., et al.,
                                                                                           Re: Dkt. No. 2442
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Waymo filed a letter brief regarding outstanding discovery issues on December 29, 2017.

                                  14   (Dkt. No. 2442.) Waymo shall provide the Court with a chambers copy of the letter brief and

                                  15   related exhibits assembled in a binder consistent with the Court’s prior orders by 5:00 p.m. today.

                                  16   Any response to the letter brief from Uber is due by 10:00 a.m. January 4, 2018.

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                                  18          IT IS SO ORDERED.

                                  19   Dated: January 3, 2018

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                                                                                                   JACQUELINE SCOTT CORLEY
                                  22                                                               United States Magistrate Judge
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